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 1   BETH A. WILKINSON (pro hac vice)            STEVEN C. SUNSHINE (pro hac vice)
     KOSTA S. STOJILKOVIC (pro hac vice)         TARA REINHART (pro hac vice)
 2   WILKINSON STEKLOFF LLP                      SKADDEN, ARPS, SLATE, MEAGHER &
     2001 M Street NW, 10th Floor                FLOM LLP
 3                                               1440 New York Avenue, NW
     Washington, DC 20036                        Washington, DC 20005
 4   (202) 847-4010                              (202) 371-7000
     bwilkinson@wilkinsonstekloff.com            steven.sunshine@skadden.com
 5   kstojilkovic@wilkinsonstekloff.com          tara.reinhart@skadden.com
 6   JULIE ELMER (pro hac vice)                  Attorneys for Defendant
     JENNIFER MELLOTT (pro hac vice)             JUNIPER NETWORKS, INC.
 7   FRESHFIELDS US LLP
     700 13th St NW
 8
     Washington, DC 20005                        MICHAEL J. FREEMAN (OH No. 086797)
 9   (202) 777-4500                              U.S. DEPARTMENT OF JUSTICE
     julie.elmer@freshfields.com
                                                 ANTITRUST DIVISION
10   jennifer.mellott@freshfields.com            450 Fifth Street, NW, Suite 4000
11                                               Washington, DC 20530
     SAMUEL G. LIVERSIDGE (CA No. 180578)
                                                 Telephone: (212) 213-2774
     GIBSON, DUNN & CRUTCHER LLP
12                                               Fax: (202) 514-5847
     333 South Grand Avenue
                                                 Michael.Freeman@usdoj.gov
13   Los Angeles, CA 90071-3197
     (213) 229-7000
     sliversidge@gibsondunn.com                  Attorney for Plaintiff
14
                                                 UNITED STATES OF AMERICA
15   Attorneys for Defendant
     HEWLETT PACKARD ENTERPRISE CO.              [Additional counsel listed on signature page]
16

17                            UNITED STATES DISTRICT COURT

18                         NORTHERN DISTRICT OF CALIFORNIA

19                                   SAN JOSE DIVISION

20
     UNITED STATES OF AMERICA,
21
                                                  Case No. 5:25-cv-00951-PCP
22                    Plaintiff
                 v.                               JOINT STIPULATION TO
23                                                EXPEDITE BRIEFING SCHEDULE
                                                  ON DEFENDANTS’ MOTION FOR
24                                                EVEN ALLOTMENT OF TRIAL
     HEWLETT PACKARD ENTERPRISE CO.               TIME AND TO PRECLUDE TRIAL
25   and JUNIPER NETWORKS, INC.,                  BY SUBMISSION

26                                                Hon. P. Casey Pitts
                       Defendants.
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                                                            JOINT STIPULATION TO EXPEDITE BRIEFING
                                                                 SCHEDULE ON DEFENDANTS’ MOTION
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 1           WHEREAS, trial in this matter is scheduled to begin on July 9, 2025;
 2          WHEREAS, the final Pretrial Conference is scheduled for June 30, 2025;
 3          WHEREAS, Defendants and the Department of Justice Antitrust Division (“DOJ”) have
 4   met and conferred about trial logistics in advance of the final Pretrial Conference and reached
 5   agreement on numerous trial topics;
 6          WHEREAS, however, the parties have reached an impasse on three issues related to the
 7   allotment of trial time, the playing of deposition designations at trial, and submission of exhibits
 8   without a sponsoring witness at trial;
 9          WHEREAS, the parties have conferred and agreed that resolution of these issues by the
10   Court at or before the final Pretrial Conference would aid both sides in trial preparation;
11           NOW THEREFORE, Defendants and DOJ hereby stipulate and agree, subject to the
12   Court’s approval, to the following:
13          1) The parties will submit their briefing on an expedited schedule, with Defendants filing
14              their Motion on June 10, 2025, and the DOJ filing its Response on June 16, 2025;
15          2) If the Court would find argument on these issues helpful, the parties will be prepared
16              to argue them at the Pretrial Conference or at the Court’s convenience before the
17              Pretrial Conference.
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19   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                  10 2025
     DATED: June _____,                                    ______________________________
22                                                         HONORABLE P. CASEY PITTS
23                                                         UNITED STATES DISTRICT JUDGE

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                                                                     JOINT STIPULATION TO EXPEDITE BRIEFING
                                                       2                  SCHEDULE ON DEFENDANTS’ MOTION
